                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 ST. CLAIR COUNTY EMPLOYEES’
 RETIREMENT SYSTEM, Individually and
 on Behalf of All Others Similarly Situated,        Case No. 3:18-cv-0988

         Plaintiffs,                                Judge Richardson
                                                    Magistrate Judge Newbern
 v.

 ACADIA HEALTHCARE COMPANY,
 INC., et al.,

         Defendants.


                                              ORDER

         On May 31, 2019, Defendants Acadia Healthcare Company, Inc., Joey Jacobs, Brent

Turner, and David Duckworth filed a motion to dismiss the consolidated complaint. (Doc. No. 40.)

Pursuant to Local Rule 7.01(a)(3), any response is to be filed within 14 days after service of the

motion. M.D. Tenn. R. 7.01(a)(3) (response). A reply memorandum not to exceed five pages may

be filed within 7 days after service of the response. Id. § 7.01(a)(4) (reply).

         Any filings made related to the motion to dismiss, including motions for extensions of time

or to exceed page limits, shall be decided by Judge Richardson unless referred to the undersigned

magistrate judge.

         It is so ORDERED.

                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




      Case 3:18-cv-00988 Document 42 Filed 06/03/19 Page 1 of 1 PageID #: 1523
